                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF MISSOURI



VERNIE SHAT,
MARCELLA SHAT,                                           Civil File No. 09-06009-CV-W-SWH

               Plaintiffs,

vs.                                                           STIPULATION OF DISMISSAL
                                                                       WITH PREJUDICE
NCO FINANCIAL SYSTEMS, INC.,

               Defendant.



       Pursuant to Fed. R. Civ. P. 41(a)(1)(ii), the plaintiffs Vernie and Marcella Shat, and the

defendant, NCO Financial Systems, Inc. hereby stipulate to the dismissal of the above-styled

case and any claims that were raised or that could have been raised in this action, with prejudice,

each side to bear its own costs and attorneys fees.

                                              Respectfully submitted,

Dated: __04/21/09________                     By __/s/ J. Mark Meinhardt
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Dated: __04/21/09________                     By __/s/ Richmond M. Enochs
                                              Richmond M. Enochs
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